Case 2:17-cv-00124-PLM-MV ECF No. 120, PageID.1168 Filed 08/01/22 Page 1 of 3




                    UNITED STATES DISTRICT COURT
                    WESTERN DISTRICT OF MICHIGAN
                         NORTHERN DIVISION

WILLIAM JOHNSON, JILL JOHNSON, and
SECOND AMENDMENT FOUNDATION,
INC.,
                                               No. 17-CV-00124-PLM-MV
      Plaintiffs,
                                               HON. PAUL L. MALONEY
v.
                                               MAG. MAARTEN VERMAAT
ELIZABETH HERTELL, in her official
capacity as Director of the Michigan
Department of Health and Human Services,

      Defendant.

                                                 JOINT STATUS REPORT
David G. Sigale (Atty ID# 6238103 (IL))
Attorney for Plaintiffs
Law Firm of David G. Sigale, P.C.
430 West Roosevelt Road
Wheaton, IL 60187
630.452.4547
dsigale@sigalelaw.com


Cassandra A. Drysdale-Crown (P64108)
Assistant Attorney General
Attorneys for Defendant
Michigan Department of Attorney General
Health, Education & Family Services Division
P.O. Box 30758
Lansing, MI 48909
(517) 335-7603
drysdalecrownc@michigan.gov
walkerj32@michigan.gov
                                           /
Case 2:17-cv-00124-PLM-MV ECF No. 120, PageID.1169 Filed 08/01/22 Page 2 of 3




                            JOINT STATUS REPORT

      As directed by the Court, the parties submit this Joint Status Report.

      The parties continue efforts to reach settlement to resolve Plaintiff’ Second

Amendment claims against State Defendant. Current efforts include:

      1.    The drafting and promulgation of a revised Foster Family Homes and

            Foster Family Group Homes Rule 400.9415 (Rule 415).

      2.    Implementation of various training measures.

      3.    A settlement agreement which would include a resolution of Plaintiffs’

            claim for attorney’s fees or an agreement to place said issue before the

            Court.

      The Amended Rule 415 – as approved by Plaintiffs and State Defendant – is

one of the 42 amended rules awaiting promulgation within the Michigan Foster

Family Homes and Foster Family Group Homes rule set. For reasons not involving

Rule 415, the Michigan Department of Health and Human Services (MDHHS)

temporarily withdrew this rule set from pending promulgation after review by the

Joint Committee on Administrative Rules (JCAR). JCAR “consists of 5 members of

the senate and 5 members of the house of representatives.” MCL 24.235. MDHHS

anticipates resubmitting this rule set in November, 2022 in accord with the

Michigan Administrative Procedures Act, MCL 24.201, et seq.

      Additionally, MDHHS is determining whether Rule 415 may be eligible for

promulgation independent from inclusion with the aforementioned Foster Family

Home and Foster Family Group Home Rules set for resubmission.



                                          2
Case 2:17-cv-00124-PLM-MV ECF No. 120, PageID.1170 Filed 08/01/22 Page 3 of 3




      Considering MDHHS intends to resubmit the amended Michigan Foster

Family Homes and Foster Family Group Homes Rules, including Rule 415, the

parties suggest a follow-up status report deadline of September 2, 2022.


Date: August 1, 2022                        /s/ Cassandra A. Drysdale-Crown
                                     Cassandra A. Drysdale-Crown (P64108)
                                     Assistant Attorneys General
                                     Attorney for Defendant
                                     Health, Education & Family
                                     Services Division
                                     P.O. Box 30758
                                     Lansing, MI 48909
                                     (517) 335-7603
                                     drysdalecrownc@michigan.gov


Date: August 1, 2022                       /s/ David G. Sigale
                                     David G. Sigale (Atty ID# 6238103 (IL))
                                     Attorney for Plaintiffs
                                     Law Firm of David G. Sigale, P.C.
                                     430 West Roosevelt Road
                                     Wheaton, IL 60187
                                     630.452.4547
                                     dsigale@sigalelaw.com




                                        3
